                                                                   Case 2:16-cv-00549-APG-NJK Document 117 Filed 10/19/20 Page 1 of 2




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                                                                 Certificateholders of CWABS, Inc., Asset
                                                            9    Backed Certificates, Series 2004-AB1
                                                            10
                                                                                               UNITED STATES DISTRICT COURT
              1635 VILLAGE CENTER CIRCLE, SUITE 200

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                                                            11                                       DISTRICT OF NEVADA
                      LAS VEGAS, NEVADA 89134




                                                            12   THE BANK OF NEW YORK MELLON FKA                        Case No.:   2:16-cv-00549-APG-NJK
AKERMAN LLP




                                                                 THE BANK OF NEW YORK AS TRUSTEE
                                                            13   FOR THE CERTIFICATEHOLDERS OF                          STIPULATION AND ORDER TO DISMISS
                                                                 CWABS,    INC.,     ASSET      BACKED
                                                            14   CERTIFICATES, SERIES 2004-AB1,                         ALL REMAINING CLAIMS

                                                            15                         Plaintiff,
                                                            16   vs.
                                                            17   TERRA BELLA OWNERS ASSOCIATION
                                                                 INC.; MIDNIGHT RAMBLER TRUST;
                                                            18   SATICOY BAY LLC,   SERIES  7524
                                                                 MIDNIGHT   RAMBLER TRUST;   and
                                                            19   HAMPTON & HAMPTON COLLECTIONS,
                                                                 LLC,
                                                            20
                                                                                       Defendants.
                                                            21
                                                                 SATICOY   BAY  LLC   SERIES                 7524
                                                            22   MIDNIGHT RAMBLER TRUST,
                                                            23                         Counterclaimant,
                                                            24   vs.
                                                            25   THE BANK OF NEW YORK MELLON FKA
                                                                 THE BANK OF NEW YORK AS TRUSTEE
                                                            26   FOR THE CERTIFICATEHOLDERS OF
                                                                 CWABS,      INC.,       ASSET-BACKED
                                                            27   CERTIFICATES, SERIES 2004-AB1,
                                                            28                         Counter-defendants.
                                                                                                                    1
                                                                 55048695;1
                                                                     Case 2:16-cv-00549-APG-NJK Document 117 Filed 10/19/20 Page 2 of 2




                                                             1            Plaintiff and counter defendant The Bank of New York Mellon f/k/a The Bank of New York

                                                             2   as Trustee for the Certificateholders of CWABS, Inc., Asset Backed Certificates, Series 2004-AB1

                                                             3   (BoNYM), defendant Midnight Rambler Trust and defendant and counterclaimant Saticoy Bay, LLC

                                                             4   Series 7524 Midnight Rambler Trust stipulate to dismiss all remaining claims in this action with

                                                             5   prejudice, each party to bear its own attorneys' fees and costs.1

                                                             6            DATED: October 16, 2020.

                                                             7 AKERMAN LLP                                            ROGER P. CROTEAU & ASSOCIATES, LTD.
                                                             8  /s/ Nicholas E. Belay, Esq.                            /s/ Christopher L. Benner, Esq.
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                                                               The Bank of New York Mellon f/k/a The Bank of          7524 Midnight Rambler Street; Midnight Rambler
                                                            13 New York as Trustee for the Certificateholders         Trust
                                                               of CWABS, Inc., Asset Backed Certificates,
                                                            14 Series 2004-AB1

                                                            15
                                                                                                                  ORDER
                                                            16
                                                                      IT IS SO ORDERED.
                                                            17

                                                            18                                                   _________________________________________
                                                                                                                 UNITED STATES DISTRICT COURT JUDGE
                                                            19                                                   Case No.: 2:16-cv-00549-APG-NJK

                                                            20
                                                                                                                 DATED:         October 19, 2020
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                                                                 1
                                                                   BoNYM has pending claims against defendant Hampton & Hampton Collections, LLC as well and
                                                            27   seeks to dismiss those claims with prejudice through this stipulation. Hampton filed a "notice of
                                                                 intent not to participate" in this action, advising the court of its "intent to no longer participate in this
                                                            28
                                                                 action and . . . that [it] is aware that default judgments may be entered." (ECF No. 107 at 1-2.)
                                                                                                                       2
                                                                 55048695;1
